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 6
                              UNITED STATES DISTRICT COURT
 7
                     FOR THE CENTRAL DISTRICT OF CALIFORNIA
 8
 9   UNITED STATES OF AMERICA,                     SA CR No. 19-061-JVS
10               Plaintiff,                        DEFENDANT’S STATUS REPORT
11                      v.                         Hearing Date:     June 28, 2021
                                                   Hearing Time:     8:00 a.m.
12                                                 Location:         Courtroom of the Hon.
     MICHAEL JOHN AVENATTI,                                          James V. Selna
13
                 Defendant.
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16
           In advance of the final pretrial conference scheduled for June 28, 2021, defendant
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     MICHAEL JOHN AVENATTI (“Mr. Avenatti”) by and through his counsel of record,
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     H. Dean Steward, hereby files this Status Report in order to bring to the Court’s attention
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     a number of issues impacting the trial and scheduling in this matter.
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      Dated: June 25, 2021                     Respectfully submitted,
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23                                            /s/ H. Dean Steward
                                               H. DEAN STEWARD
24
                                               Attorney for Defendant
25                                             MICHAEL JOHN AVENATTI
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 1   I.    ISSUES RAISED BY THE DEFENSE
 2         A.     The Sentencing in New York and the Impact on the Trial Schedule.
 3         Yesterday (June 24), the Court in the Nike-related criminal case in the Southern
 4   District of New York moved Mr. Avenatti’s sentencing hearing in that matter from June
 5   30, 2021 to July 9, 2021 [19 Cr. 373 (PGG), Dkt. 326]. The hearing date was moved as
 6   a result of the government first informing the defense in that case, on June 16, of a $1
 7   million restitution demand that was never previously raised by the government,
 8   referenced in the Pre-Sentence Report (submitted one year prior), or supported with any
 9   documentation. [19 Cr. 373 (PGG), Dkt. 324.]1
10         The July 9 date is only four days before oral voir dire is scheduled to begin in this
11   case (on July 13) and is contemporaneous with the time this Court had indicated that it
12   planned to distribute the written questionnaires to the venir as part of voir dire. Further,
13   Mr. Avenatti is now expected to travel to New York on July 7, 2021 in order to meet
14   with his counsel on July 8, 2021, the day before the sentencing.2 Mr. Avenatti will
15   hopefully return on a commercial flight on either July 9 or July 10.
16         The sentencing in the Nike-related case requires that the trial schedule, including
17   the beginning of oral voir dire scheduled for July 13, be changed. First, the sentencing
18   in the Nike case has already resulted in a significant amount of recent negative, national
19   media coverage (including in the Central District), which will undoubtedly only increase
20   on July 9 and in the days that immediately follow. This coverage will make it virtually
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       Mr. Avenatti’s counsel in that case attempted to move the sentencing until after the trial
22   in this case was concluded. The government refused to agree and opposed the defense
     request. The Court then set July 9 as the hearing date.
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24     Due to a scheduling conflict, the government requested late yesterday that the
     sentencing be moved again – from July 9 to July 8 [19 Cr. 373 (PGG), Dkt. 327]. If this
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     request is granted, Mr. Avenatti will likely travel on July 6 to meet with his attorneys in
26   New York on July 7, attend the sentencing on July 8 and return on July 9. The defense
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     expects to submit an ex parte application for an Order permitting Mr. Avenatti to travel
     to New York for his sentencing, subject to monitoring and conditions imposed by Pre
28   Trial Services.
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 1   impossible for Mr. Avenatti’s Constitutional rights, including his right to due process
 2   and his right to an impartial and unbiased jury, to be adequately protected in the week
 3   immediately following the sentencing. See, e.g., Sheppard v. Maxwell, 384 U.S. 333,
 4   362-63 (1966); Levine v. United States Dist. Court for Cent. Dist., 764 F.2d 590, 596
 5   (9th Cir. 1985) (“We have recognized that the Sheppard Court unequivocally imposed a
 6   duty upon trial courts to take affirmative steps to insure the fairness of a criminal
 7   proceeding in the face of excessive publicity. Farr, 522 F.2d at 468; see also Hirschkop,
 8   594 F.2d at 366 n. 8 (noting that the language in Sheppard ‘is more nearly directive than
 9   suggestive’”). As a result, the beginning of voir dire should be delayed at least 45 days
10   in order to allow the negative press coverage and the prejudice to Mr. Avenatti to abate.
11         Second, having the written questionnaires completed before the Nike sentencing
12   and the press coverage that will result from that sentencing makes little sense if the goal
13   of the questionnaires is to determine exposure to media coverage about Mr. Avenatti and
14   possible prejudice and bias. If the venir submits their responses before the high-profile
15   sentencing, it will severely diminish the usefulness and effectiveness of the questionnaire
16   answers and render them stale before oral voir dire even begins. The questionnaires
17   should be completed after the Nike sentencing and the resulting press coverage.
18         Third, Mr. Avenatti has a Constitutional right under the Fifth and Sixth
19   Amendments to be present at all stages of the trial in this case, including all aspects of
20   voir dire (which includes the distribution of the questionnaires and the venir’s
21   completion of the questionnaires). See, e.g., Cohen v. Senkowski, 290 F.3d 485 (2d Cir.
22   2002); see also Fed. R. Crim. P. 43. Mr. Avenatti has not waived that right nor is he
23   expected to; Mr. Avenatti requests to be present at all stages of the trial, including jury
24   selection.
25         Fourth, as a result of the sentencing, Mr. Avenatti will lose approximately three to
26   four days of valuable trial preparation with his counsel in the week immediately before
27   opening statements are scheduled to begin. This is prejudicial to the defense.
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 1           For each of these reasons, the trial schedule should be adjusted. This is especially
 2   true because any prejudice to the government that may result from a delay is minimal at
 3   most.
 4           B.    Covid-19 Precaution Concerns and Objections. The defense has a
 5   number of concerns and objections regarding various Covid-19 precautions that may be
 6   utilized at trial. First, the defense requests that the entire venir be present in the
 7   courtroom during all aspects of voir dire and that they be seated, socially distanced and
 8   mask-less. Further, the defense objects to any set of conditions that does not permit this.
 9   It is critical that the Court, the defendant and all counsel be able to see each potential
10   juror’s entire face for reactions, expressions and facial cues during all aspects of voir
11   dire.
12           Second, during the trial, the defense requests that all trial jurors (including
13   alternates) be mask-less, socially distanced and seated in a single field of vision.
14   Further, the defense objects to any set of conditions that does not permit this. The ability
15   to evaluate all jurors in open court and their reaction to the evidence is critical to the
16   defense function.
17           Third, the defense requests that counsel and the defendant have the option to wear
18   or not wear masks during the trial, including while seated at counsel table. The ability to
19   speak is impaired and the voice of counsel is distorted when a mask is used. In addition,
20   masking the defendant raises a host of concerns as previously explained and detailed in
21   the record [Dkt. 164]; those concerns and objections are incorporated herein by
22   reference. Further, the defense objects to any set of conditions that requires the use of
23   masks by counsel or the defendant.
24           Finally, the defense objects to any use of a mask by any witness while testifying.
25   It is of obvious importance that the Court, the jury, the defendant and counsel have the
26   ability to gauge the truthfulness of the witness, including by seeing the witness’s entire
27   face, all facial expressions and cues, and reactions.
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 1         C.     The Jencks Act, Rule 26.2 and the Lack of Disclosure.
 2         The Court previously ordered the government to produce all materials required
 3   under the Jencks Act (18 U.S.C. § 3500) no later than June 14, 2021. [Dkt. 407].3 The
 4   government has not complied with the Order.
 5         The Jencks Act requires the government to produce all statements “which relate to
 6   the subject matter as to which the witness [will] testif[y].” 18 U.S.C. § 3500(b).
 7   Importantly, “the statement need relate only generally to the events and activities
 8   testified to by the witness to come within [the] sweep” of 18 U.S.C. § 3500. United
 9   States v. Bibbero, 749 F.2d 581, 585 (9th Cir. 1984)(emphasis added). “The act requires
10   the government, upon the defendant’s motion, to produce statements made by any of its
11   witnesses which the particular witness signed, adopted or approved, and which pertain
12   to their testimony at trial. The hope is that these statements will afford the defense a
13   basis for effective cross-examination of government witnesses and the possible
14   impeachment of their testimony . . .” United States v. Kimoto, 588 F.3d 464, 475 (7th
15   Cir. 2009)(emphasis added)(citing United States v. Johnson, 200 F.3d 529, 534 (7th Cir.
16   2000)(internal citations omitted).” See also, Fed.R.Crim.P. 26.2(f) (defining “statement”
17   to include any “written statement that the witness makes and signs, or otherwise adopts
18   or approves,” as well as any substantially verbatim, contemporaneously recorded recital
19   of the witness’s oral statement)(emphasis added).
20         On June 10, 2021 and in an effort to avoid any issues with the government’s
21   production due on June 14, undersigned counsel wrote to the government regarding the
22   upcoming Jencks deadline. See Exhibit A. The government responded with the
23   statement, “[w]e will comply (as we have complied) with our discovery obligations
24   imposed by the Court.” without addressing the substance of the request. Id. On June 14,
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26     In order to avoid any later claim by the government that the Court’s Order is
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     unenforceable because it required production before trial, the defense will file, at the
     beginning of the trial, a Jencks Act and Rule 26.2 motion seeking an order requiring
28   strict compliance with both the Act and the Rule.
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 1   the government produced limited 3500 materials (totaling less than 40 pages). The
 2   government appears to believe that its prior Rule 16 productions, coupled with more
 3   recent productions, including a limited production received on June 23, 2021, satisfy
 4   their obligations under the Jencks Act. They do not. Further, the government is taking
 5   an extremely narrow view of what constitutes a “statement” that requires production -
 6   one that is not supported by the law. Under the law, all information signed, adopted or
 7   otherwise approved is required to be produced.
 8         The government produced its witness list to the defense on June 14, 2021 as
 9   required - the list includes 36 government witnesses. As of this filing, the government
10   has not produced any notes or summaries from any interview or contact with at least 10
11   of those witnesses, including RB, JD, JG, MH, SK, LM, ER, NT, AF, and HW. Further,
12   the government has not produced all of the Jencks materials for its witness IRS-CI
13   Special Agent Nshan Tashchyan, who is believed to have been involved in the case for
14   well over a year. In addition, other than a single draft of certain Powerpoint slides
15   evidently prepared by government expert John Drum, the government has produced no
16   other “statements” from Mr. Drum or the government’s other expert Ms. Susan Katzen –
17   no notes of interviews or contacts, no emails, no letters, no contracts, no text messages,
18   no other drafts of slides or presentations, no reports, and no invoices. In addition, it is
19   readily apparent that statements and notes from interviews of other government trial
20   witnesses have not been produced, including but not limited to certain interviews of the
21   alleged client victims identified in the indictment.
22         The defense is entitled to strict compliance with the Jencks Act and Rule 26.2 and
23   requests that full compliance occur immediately so problems and delays during the trial
24   may be avoided. The defense also requests that the government be directed to produce
25   the statements organized by witness as required by the Jencks Act and Rule 26.2.4 See,
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       Pursuant to the Court’s Criminal Trial Order Revised 8-17-17, the government is
     required to file with the Court in camera “all statements of all witnesses to be called by
28   the government in its case-in-chief . . . at least five (5) calendar days before trial.” Id. at
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 1   e.g., 18 U.S.C. § 3500(b) (“After a witness called by the United States has testified on
 2   direct examination, the court shall, on motion of the defendant, order the United States to
 3   produce any statement . . . of the witness . . .”); Rule 26.2(a) (“After a witness other than
 4   the defendant has testified on direct examination, the court, on motion of a party who did
 5   not call the witness, must order an attorney for the government or the defendant and the
 6   defendant’s attorney to produce . . . any statement of the witness . . .”). The defense
 7   wishes to avoid disputes at trial and thereafter regarding whether all statements for any
 8   particular witness were produced as required and whether a particular document was
 9   produced as Jencks material; it is important for the record, all parties, and the Court, that
10   there is a clear understanding of what statements were produced by the government
11   pursuant to the Jencks Act and Rule 26.2 and when.
12         D.     Government Experts John Drum and Susan Katzen. The defense has
13   requested that the government provide a detailed listing of all evidence specifically
14   relied on by the government’s forensic expert John Mr. Drum in reaching his
15   conclusions and opinions. The government has not done so. The defense is entitled to
16   know the exact documents and data Mr. Drum relied on with specificity – the
17   government merely stating “Quickbooks” for instance, without identifying the specific
18   data or report in Quickbooks (which is a software program), is not sufficient. It is akin
19   to stating “file cabinet.” This information should be produced immediately so the
20   defense can prepare for trial. If required, the defense will file a Daubert motion,
21   although the defense wishes to avoid having to do so.5
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     3, § 8 (emphasis in original). Presumably, the Court expects the statements to be
24   organized by witness. As a result, there can be no prejudice to the government in having
25   to produce to the defense the 3500 material organized by witness as requested and as
     required under the Jencks Act and Rule 26.2.
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      In addition, to the extent the government’s other expert, Ms. Susan Katzen, has relied
     on any data or information, this too should be disclosed promptly.
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 1         Further, the defense has requested that the government produce all billing
 2   statements and invoices relating to Mr. Drum’s engagement, as well as that of
 3   government expert Susan Katzen. These documents are required to be disclosed
 4   pursuant to the Jencks Act, Brady, Price, Bundy and Giglio. None have been produced.
 5         E.     Brady Material. The government has not produced information and
 6   documents to the defense that constitute Brady material. Included among the materials
 7   the government has not produced are handwritten notes containing statements from
 8   government witnesses favorable to the defense, as well as financial information relating
 9   to the accounting applicable to the client matters at issue in counts 1-10.
10         This information should have been produced long ago and the government cannot
11   rely upon an alleged lack of materiality (in their eyes) to avoid production. See, e.g.,
12   United States v. Bundy, 968 F.3d 1019, 1033 (9th Cir. 2020)(requiring all favorable
13   evidence to be disclosed by prosecutors pretrial, without regard to materiality: “[T]rial
14   prosecutors must disclose favorable information without attempting to predict whether
15   its disclosure might affect the outcome of the trial. . . . The retrospective definition of
16   materiality is appropriate only in the context of appellate review” and not at the trial
17   level.); United States v. Price, 566 F.3d 900 (9th Cir. 2009)(requiring prosecutors to
18   produce all potentially exculpatory or otherwise favorable evidence without regard to
19   how the withholding of such evidence might be viewed as affecting the outcome of the
20   trial); United States. v. Olsen, 704 F.3d 1172, 1183 n.3 (9th Cir. 2013)(explaining that a
21   prosecutor should not produce only what he considers “material” because it is “just too
22   difficult to analyze before trial” what may be material). See also California RPC 3.8
23   (applicable to federal prosecutors pursuant to 28 U.S.C. § 530B(a) and requiring
24   disclosure to the defense without regard to materiality); Justice Manual 9-5.001(B)(1)
25   (requiring AUSAs to “err on the side of disclosing exculpatory and impeaching
26   evidence.”). This information was also required to be produced pursuant to the Court’s
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 1   Order issued on January 25, 2021 [Dkt. 408], as well as the Court’s Criminal Trial Order
 2   Revised 8-17-17.
 3          If these issues are not addressed in detail now, before trial, they will emerge in the
 4   middle of trial or immediately post-trial and create a host of problems (not to mention a
 5   possible mistrial). The defense respectfully urges the Court to address and resolve these
 6   issues now as opposed to waiting.
 7          F.     Federal Rule of Evidence 609. The defense intends on introducing
 8   evidence of multiple criminal convictions that involve the government’s witnesses.
 9   These offenses include fraud offenses (i.e. federal mail fraud) and recent felonies
10   committed by at least one client identified in the indictment. If the government opposes
11   this effort, the defense will file the necessary motion.
12          G.     The Mediation Privilege. Based on the government’s witness list provided
13   on June 14, it appears that the government intends to introduce testimony and evidence
14   relating to communications and actions that occurred in connection with various
15   mediations and/or during mediations. If true, this is not permitted under the law and Mr.
16   Avenatti objects to the admission of any and all such evidence. See, e.g., Cassel v. Super
17   Ct., 244 P.3d 1080 (Cal. 2011). The mediation privilege in California is broad and well-
18   established; it protects not only communications occurring at the mediation, but oral and
19   written communications before and after the mediation as well. It is also not limited to
20   communications with a mediator. In addition, it cannot be waived by a client in
21   connection with any effort to hold an attorney accountable for an alleged breach of a
22   duty to that client.
23          If the government intends on offering such evidence, the issue should be fully
24   briefed for the Court well in advance of trial and certainly before any such evidence is
25   referred to or used at trial.
26          H.     The Work Product Doctrine. Based on the government’s recently
27   provided witness list, it appears that the government intends to offer testimony and
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 1    evidence protected from disclosure, review and use by the work product doctrine. If this
 2    is accurate, Mr. Avenatti objects to the admission of any and all such evidence and
 3    requests that the issue be resolved well in advance of trial.6
 4          I.     The Attorney-Client Privilege. Based on the government’s witness list, it
 5    appears that the government intends to call three to five of Mr. Avenatti’s own attorneys
 6    to testify at trial in the government’s case in chief. If true, the government should be
 7    required to provide a proffer well before trial so that any privilege objections and related
 8    issues can be addressed. Mr. Avenatti has never waived his right as a client to assert the
 9    attorney-client privilege and objects to any testimony by any individual who previously
10    represented him in a legal capacity. It is important to note that the government has never
11    sought, let alone obtained, any applicable finding from the Court relating to the crime-
12    fraud exception to the attorney-client privilege.
13          J.     Mental Health Information and Defense Testifying Expert. The defense
14    anticipates serving subpoenas seeking mental health and prescription records for one or
15    more of the government’s witnesses for review in camera by the Court, and possible
16    subsequent production to the defense, prior to cross-examination. See, e.g., Doe v.
17    Diamond, 964 F.2d 1325 (2d Cir. 1992).
18          Further, the government is required to disclose all evidence that bears on the
19    credibility of its witnesses, including evidence of poor mental and emotional health. See
20    Brady; Giglio. See also United States v. Pryce, 938 F.2d 1343, 1345-46 (D.C. Cir.
21    1991). The government must also reveal psychiatric and medication information relating
22    to its witnesses, including but not limited to the alleged client victims identified in the
23    indictment. See Fuentes v. Griffin, 829 F.3d 233, 247-48 (2d Cir. 2016). And the
24    government must disclose its witnesses’ mental health history. Id. at 248; Browning v.
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26      It is unclear if the government has reviewed any information or documents covered by
27
      the work product doctrine. If they have, this will obviously give rise to a critical issue
      that will require resolution before trial.
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 1    Trammell, 717 F.3d 1092, 1105-06 (10th Cir. 2013). The reason for this is basic –
 2    because a witness’s credibility may always be attacked by showing that her capacity to
 3    observe, remember or narrate is impaired. As stated by the Second Circuit in Fuentes:
 4    “Based on clearly established fundamental rights and principles, we think it indisputable
 5    that if the prosecution has a witness’s psychiatric records that are favorable to the
 6    accused because they provide material for impeachment, those records fall within the
 7    Brady principles, and that the Supreme Court has so recognized.” 829 F.3d at 247. In
 8    addition, evidence that impeaches a witness’s ability to recollect or perceive events is
 9    also always relevant and must be produced. See Benn v. Lambert, 283 F.3d 1040, 1056
10    (9th Cir. 2002); United States v. Moore, 923 F.2d 910, 913 (1st Cir. 1991). Despite each
11    of these well-established legal principles, however, all of this information has not been
12    produced. It must be produced promptly so the defense can adequately prepare for trial.
13          Additionally, the defense is in the process of attempting to retain a mental health
14    expert to testify as to relevant mental health issues concerning one or more of the
15    government’s witnesses.
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       Dated: June 25, 2021                      Respectfully submitted,
18
                                                /s/ H. Dean Steward
19
                                                 H. DEAN STEWARD
20
                                                 Attorney for Defendant
21                                               MICHAEL JOHN AVENATTI

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 1
                                   CERTIFICATE OF SERVICE
 2
 3          I, H. Dean Steward, am a citizen of the United States, and am at least 18 years of
 4    age. My business address is 107 Avenida Miramar, Ste. C, San Clemente, CA 92672. I
 5    am not a party to the above-entitled action. I have caused, on June 25, 2021, service of
 6    the defendant’s:
                                          STATUS REPORT
 7
 8    on the following party, using the Court’s ECF system:
 9    AUSA BRETT SAGEL AND AUSA ALEXANDER WYMAN
10    I declare under penalty of perjury that the foregoing is true and correct.
11    Executed on June 25, 2021
12                                            /s/ H. Dean Steward
13                                            H. Dean Steward
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